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 7   Attorneys for Plaintiff, Scott Munson

 8
                                  UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10
11 SCOTT MUNSON,
                                                         Case No.:   3:21-cv-00351-MMD-WGC
12                         Plaintiff,
                                                           STIPULATION AND ORDER FOR
13 vs.                                                      DISMISSAL WITH PREJUDICE
14 PRO GROUP CAPTIVE MANAGEMENT
   SERVICES, INC., a domestic corporation;
15 and DOES 1-50,
16                         Defendants.
17
18          Plaintiff, Scott Munson, (“Plaintiff”) and Defendant Pro Group Captive Management
19 Services Inc., (“Defendant”) by and through their respective counsels, hereby stipulate that all
20 claims Plaintiff had, or may have had, against Defendants that are contained herein, reasonably
21 related to, or could have been brought in the above-captioned action, are hereby dismissed with
22 prejudice in their entirety.
23 ///
24 ///
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28 ///


                                         STIPULATION AND ORDER

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 1    Each party to bear its own fees and costs.
 2    IT IS SO STIPULATED.
 3
     DATED this 19th day of October 2021.            DATED this 19th day of October 2021.
 4
 5 WATKINS & LETOFSKY, LLP                           ROBISON, SHARP, SULLIVAN & BRUST
 6
     /s/ Michael A. DiRenzo                          /s/ Clayton P. Brust
 7
   _____________________________________             _____________________________________
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11 Attorney for Plaintiff                            Attorneys for Defendants

12                                                 ORDER
13          IT IS SO ORDERED.
14
                                                   UNITED STATES DISTRICT JUDGE
15
16                                                  October 20, 2021
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                                       STIPULATION AND ORDER

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